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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON

HUGHEY & PHILLIPS, LLC,

               Plaintiff/Counterclaim
                           Defendant,                     Case No. 3:11-cv-134
                                                          District Judge Thomas M. Rose
        -vs-                                              Magistrate Judge Michael R. Merz
                                               :
DIALIGHT CORPORATION

               Defendant/Counterclaim
                            Plaintiff.


   STIPULATED ORDER OF DISMISSAL WITHOUT PREJUDICE


        The Court has before it the Joint Motion to Dismiss without Prejudice. In consideration of the

parties’ Joint Motion to Dismiss all claims and counterclaims without prejudice asserted by Plaintiff

and Counterclaim Defendant Hughey & Phillips, LLC and Defendant and Counterclaim Plaintiff

Dialight Corporation, the Court is of the opinion that the motion should be GRANTED.

        IT IS ORDERED, ADJUDGED AND DECREED that the Court’s prior Order of

dismissal dated January 17, 2013, dismissing all claims with prejudice is vacated, and all claims

and Counterclaims asserted in above-entitled suit are hereby DISMISSED without prejudice

subject to the terms of the Settlement Agreement reached by the Parties in January 2013.

        IT IS FURTHER ORDERED that all costs and expenses relating to this litigation

(including attorney and expert fees and expenses) shall be borne solely by the party incurring

same.

January 23, 2013.                                             S/THOMAS M. ROSE
                                                              ___________________________
                                                                     Thomas M. Rose
                                                              United States District Judge
